Case 2

coco Oo a DB mH BP WO NH eR

Oo NO NH NYO WN NWN WN HN HNO RR Re eee Re Oe i me ou
ma AH ON BP WO NY KF CO OO Bn DA WA BR WO PH KF OC]

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Starting at $9.95; $14.80 Online California; Traffic School - $10 Special, etc.) and

School") strongly suggest that price is another critical factor. [TE 67; 11/7 RDT

41:19-42:13.] [This statement, while irrelevant, is not supported by the evidence

cited. |

90. A visitor that clicks on the DMV.ORG advertisement of I Drive
Safely must click through at least 5 additional pages once on the I Drive Safely
website before making a purchase. [Lahoti Trial Decl., | 9; TE 648.]

91. "Conversion rate" is a commonly used phrase within the online

by the advertiser) [Moretti Trial Decl., { 18.]

92. Conversion rates can be calculated in at least two different ways:
Humber of umigue visitstothatipase) [11/7 RDT 215:7-16 (Moretti).] [There was no

evidence to suggest that the industry considers a “conversion rate” to be tied to the

number of page views in relation to a sale. This was an alternative definition

offered by Mr. Morett only on re-direct after his cross examination in which he was
forced to acknowledge that his direct declaration testimony was false (11/7 TT pp.
199:25-205:14; compare to rial Decl., (18, and to re-direct testimony at 11/17 TT
215.). Mr. Moretti’s testimony in this regard is not credible in light of the fact that

it was offered only to try and rehabilitate his prior false statement. ]

4833-3194-9570 1- 31
W02-WEST:3AAE1\400526095.2 [PLAINTIFFS MARKED COPY OF] DEFENDANTS’
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93. The conversion rate for unique visitors to the TrafficSchool.com
website is approximately 10 to 15 percent (% that purchase). [11/7 RDT 10:3-6

(Creditor).] [This is true only with regard to California conversion rates, not non-

California conversion rates. Mr. Creditor expressly references California only.]

04, The TraffieSchool.com advertisements on DMV.ORG in 2003
FRESE ATCNEAOOINERVICESMNCMNEUMNGROA! (11/7 RDT 70:7-12; 73:4-13;

73:20-74:9, 75:18-76:4 (Kramer); TE 688.] [The conclusion reached by the

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statement is not supported by the evidence cited. The DMV.ORG site was

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significantly different in 2003 (TT 624) and it is unknown why the advertisements

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were not successful in driving traffic. This fact is also irrelevant. |

95. Ina May 2006 email, Plaintiffs’ principal, Chris Kramer,

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folbeprofitable) [11/7 RDT 83:24-84:2; 84:21-85:12 (Kramer); TE 45.] [Mr.

Kramer’s comments in 2006 were based on his 2003 experience referenced in No.

NO —_
Oo 0

94 above (11/7 TT, p. 86:10-14), so this is disputed to the extent it is meant to imply
that the Mr. Kramer believed in 2006 that DMV.ORG was unprofitable. Also, the

N Nw
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statement is of no value to any issue in this case. ]|

96. The conversion rate for California traffic school advertisements
(or approximately 7.5 percent if using unique visitors as the denominator), [Moretti

Trial Decl., {| 19-21; 11/7 RDT 206:19-207:20 (Moretti).] [Mr. Moretti’s testimony

NY YY YY YK W
oOo NN NH HR WH

on these points is unreliable as he was proven to have offered false testimony (see
32

4833-3194-9570 | -
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POST TRIAL [PROPOSED]
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Case 2

So AH ND OH FR WD YO

NO NO NO NY WN NV NO NO KF KF FF KF HP PF OFF OSS
aN nr fF WO NY K§&§ OF CO DW nH NH NM BP WH NY KK CO

No
oo

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No. 92 above). Also, there was no evidence supporting the notion that “page

views” are relevant to any issue in the case.]

97.

Henominalon) [Moretti Trial Decl., {J 19-21; 11/7 RDT 219:8-220:12 (Moretti).]
[See No. 96 above. Also, this is a meaningless statistic even if the math is accurate

because it measures nothing of relevance in this case.]

98. The fact that conversion rates for DMV.ORG are lower than the
DIMVIORG With Sai motor Vehicle department [7he testimony of Mr. Moretti
related to conversion rates is unreliable and false (see No. 92 above). Defendants
had the ability to test a meaningful conversion rate by examining the habits of

visitors who visited traffic school and drivers education pages on DMV.ORG who

arrived from search engine advertisements but made no effort to do so (11/8 TT, pp.

18:23-20:9); the failure to test the habits of these visitors is indicative of
Defendants’ understanding that the results would have been damaging because the

data would have established a very high conversion of those consumers to a sale. |

Causation/Injury: Explanations for Plaintiffs' Alleged Injury

99.

Califomia) [11/6 RDT 174:19-25, 177:22-178:7 (Creditor). ]

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Case 2

Co Oo ST HD HM BP WO YN -

Oo NY NY NY NY WN WN NY NHN §— He Se Re eRe ee oe oe ee
oN DN mM BP DH NY KH CO BO OWA HD vw BP WO NY KF OC

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100. The barriers to entry into the online traffic school market are
relatively low for an existing classroom traffic school provider. [11/6 RDT 175:6-

176:8.] [Mr. Creditor testified to many barriers (11/6 TT, p. 175:15-22). Moreover,
being an existing class room provider offers little in terms of a head start to entering

the online market; certainly Defendants offered no evidence for that proposition. ]

101. Ina July 2007 Yahoo! search result for the search term "traffic
California, demonstrating increased competition for TraffieSchool.com. |11/6 RDT

178:14-181:12 (Creditor); TE 67.] [Plaintiffs do not dispute the search result but
rather dispute the conclusion. It is unclear what “increase” is referring to.

Certainly there is competition. |

RDT 183:10-184:12 (Creditor).] [This is not correct because “Plaintiffs’” search
engine costs would have to include both Drivers Ed Direct and TrafficSchool.com

and Defendants have not cited to testimony which establishes both.]

103. Plaintiffs’ principal, Eric Creditor, acknowledged that a possible
could stem from the fact that other competitors bid more for keywords. [11/6 RDT

184:17-22 (Creditor).] [Mr. Creditor’s testimony was related to advertisers “getting

more”; it was not related to competitors bidding more. |

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FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2

oo ONY DH BPW HNO eR

NO NY NY NY NY WN NY NN NO BH He FF Fe ee OS eS Re le
Oo yD NHN OH BP WO NY KH CO O DBwny DA NW BR WN KF OC

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104. In 2007, Plaintiffs have reduced their marketing expenditures to
payiforthislitigation! [Creditor Decl., { 24.]

105. The first month in which the TrafficSchool.com website

Wenblive, [11/7 RDT 53:23-54:5 (Kramer); TE 28.]

filAlimene [11/6 RDT 163:19-166:6, 166:25-168:12 (Creditor); TE 26.] [There is
no evidence to suggest (and Mr. Creditor- whose testimony is cited as support- did
not so testify) that the change in operations in terms of collecting money had

anything to do with a drop in sales. Defendants are speculating. |

107. DriversEdDirect's business was in fact in an upward trend at the

[Designated Leach Depo., 30:18-31:14.] [Drivers Ed Direct had just commenced its
business at the end of 2005, so there is little value in comparing its prior financial

history (TD Eric Creditor, 7{ 8, 10).|

108. Plaintiffs presented no expert testimony correlating any decline
inlihein bUsinessesi0lthe DMVIORG WebSite! [Dr. Maronick’s expert surveys and

report support the proposition that confusion affected Plaintiffs’ sales because

people would have been influenced to purgiase a course from DMV.ORG because

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

Oo OND nH FP WO PY

NY NY NY NY WN NY DY DH KN B= BR ee i me oe oe ue
oN DN FP WD NY KF TO OH DMN BB WH HK OC]

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they believed the course was being recommended by their official DMV government
agency (TE 350, Study 4, Tab “G”); also the other studies support a likelihood of
confusion and deception and thus a likelihood of injury to Plaintiffs’ businesses (TE
350, Studies I-3).]

Other Motives For Plaintiffs’ Suit

109. In February 2006, DriversEdDirect initiated negotiations with

Online Guru to advertise on the DMV.ORG website with the apparent intent to
Become allongsterm partner with DMWIORG) [11/7 RDT 78:14-21, 80:12-19

(Kramer).] [The intent was to enter into a test to see if a long term relationship was

feasible (TD Eric Creditor, 1] 34, 36).|

110. But even at the time that DriversEdDirect initiated contact with

Dano and DMVIORG! [11/6 RDT 196:18-199:18 (Creditor); TE 43.] [It is unclear

what this statement means or why it is relevant, but the evidence cited does not

support it. |

111. In April 2006, during the time DriversEdDirect was negotiating
with Online Guru to advertise on DMV.ORG, Kramer emailed internally, "We
shouldn't deal with people who jerk us around or lead us on" and that he would
rather notify the various Dives of the DMV.ORG website, and that they ought to
discuss a "strategy" for this. [11/7 RDT 81:23-82:14 (Kramer); TE 43.]

112. Ina May 2006 email, Kramer again raised the strategy of
contacting the state motor vehicle departments regarding DMV.ORG explaining it

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FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2I

So OH DB OH BP WH YY

NO NO NYO NH NBO WD KN NN ND KH BF KF = HH S| Be Re
on ON ON FP WO NY KH CO OO DWH DR NH BR WO VN KH CO

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as "Sort of a ‘if you can't join 'em, shut ‘em down’ approach.” [11/7 RDT 83:24-
84:2, 86:24-87:4, 89:7-89:9; TE 45. ]

Unclean Hands: Plaintiffs' Website Practices and Domains

113. Plaintiffs’ DriversEdDirect.com website uses various state indicia
without license to do so, such as images of state license plates, logos, and state seals.
[11/7 RDT 57:22-60:18 (Kramer); TEs 72-74.] [Plaintiffs do not need a license to
display such symbols (however, Plaintiffs are licensed by the State of California in
relation to their traffic school and drivers education courses (TD Eric Creditor {{6,
10). Moreover, the issue here is whether Defendants’ use of state indicia in the

context of other elements of the DMV.ORG site (including the name) caused

confusion. |

114. TrafficSchool.com uses the term "Official" prominently in its
Supeesting a\govermmentatiiliatiom [11/7 RDT 61:5-62:20 (Kramer); TE 69.]

[Plaintiffs utilize the word “official” to communicate to users that the site is the
“official” TrafficSchool.com website (11/7 TT, pp. 61:10-62:20). This is a practice
employed by untold brand holders, as in the official COCA-COLA website, etc.]

115. TrafficSchool.com owns and operates the
TrafficSchool com and DriversEdDirect.com) [11/7 RDT 17:5-12 (Creditor).]

116. The Florida TrafficSchool.com homepage has a picture of a
police officer, though it is not endorsed by the Florida police department, and has a

link for "Florida DHSMV resources" and to a "DHSMV Website guide,” which link

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Case 2

Co mA YTD NH BR WH YP

NY NY NY NY WN NY NY WN YN = Be Be Ree ee ee ee ve UL
Oot NHN NB WN KF OO Wn DH BR WP KF OC

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to Plaintiffs' DrivingLinks.com website, not the official Florida Department of
Highway Safety and Motor Vehicles. [11/7 RDT 17:17-25, 20:9--21:24 (Creditor);
TE 610.]

117. There are no disclaimers on the FloridaTrafficSchool.com
website specifying that the website is not affiliated with any government agency.

[11/7 RDT 20:4-8 (Creditor). ]

118. TraffieSchool.com has a referral agreement with

Galiformial [11/7 RDT 63:11-16; 65:25-66:22, 68:3-6 (Kramer); TE 611.] [There is
no evidence as to whether TrafficSchool.com is or is not the lowest priced because
prices fluctuate among competitors (11/7 TT, pp. 66:8-68:8). This is also

irrelevant. |

119. TraffieSchool.com's LowestPriceTrafficSchool advertisements

[6 Westipriced irae Schooisim/CalifOrmial (7his is speculation and irrelevant; no

evidentiary support exists or is provided for this statement.]

120. Plaintiffs’ also created a website, DrivingLinks.com, which in
their own words "mirrors" the concept and content of the DMV.ORG website.

[Designated Kramer Depo., 250:22-251:5; Trial Exhibit 45.] [Mr. Kramer never
said it mirrored DMV.ORG’s content. |

121. Plaintiffs transferred the DrivingLinks.com domain name from
a fictional entity, just prior to the launch
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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2

oC OH SN HN mM BP WO NYO eR

NO NY NY NY NY NY WN NY NO = BHF HP RP Fe =| SS
oN NN BP WwW NY KF COO OH DM BW NH KH OC
DO
wn

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of the DrivingLinks.com website, arguably to mask the site's affiliation with
plaintiffs business) [11/6 RDT 202:24-205:5 (Creditor); Designated Creditor
Depo., 51:4-23.] [The transfer was done to have the domain name match the name
of the site (11/6 TT, p. 203:13-14); Plaintiffs identified the corporate registrant on
the WHOIS information- there was no effort to hide anything (11/7 TT, p. 28:7-17,
TE 20). This is also irrelevant. |

122. DrivingLinks.com does not expressly state on its website the fact
that it is controlled by TrafficSchool.com. [11/6 RDT 205:6-24 (Creditor);
Designated Kramer Depo., 246:15-249:4.]

123. There are at least 19 references to the "DMV" or "Department of
Motor Vehicles" on a single webpage of the DrivingLinks.com website. [11/6 RDT
208:5-209:18 (Creditor); Designated Creditor Depo., 271:15-272:9; TE 20
(DEF00990-91).]

124. DrivingLinks.com is similar to DMV.ORG with regard to its
content, but contains no disclaimers as to the lack of affiliation between
DrivingLinks.com and the state motor vehicle departments. [11/6 RDT 205:25-
206:25 (Creditor); Designated Creditor Depo., 270:14-20, 272:16-20; TE 20
(DEF00990-91).]

[11/6 RDT 151:20-152:24, 154:19-155:18, 155:24-156:18, 157:23-158:6, 158:14-
159:2 (Creditor); TE 89, 90.] [The DMV goes license traffic schools and

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:0

Oo CO 1 DA Wm BP WH HO KB

NHN NY NY NY NY NY KN DH CO RR me ei ea ea
OonN KHON FP HOH NYN KF CG CO OHA DM BR WH PO FR OC

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TrafficSchool.com is a California DMV licensed traffic school provider (TD Eric
Creditor, $16). There is no evidence that Plaintiffs’ registration or use of domains

has caused confusion or is misleading to anyone.]

126. The use of the phrase "DMV approved" affirmatively suggests

SERBS NEI CHNSTnADEPAMMENMONMAGOAVEHIEIES (7aficSchool.com is

a California DMV approved traffic school provider (TD Eric Creditor, J4 and 5).]

127. Plaintiffs have also registered, but cannot say whether they have
used, the following additional domains: dmvlicenserenewal.com;
dmvregistrationrenewal.com; dmvrenewals.com; internetdmv.com; dmvi.com; and

trafficschool.us. [11/6 RDT 211:14-212:20 (Creditor); TE 690.]

128. Plaintiffs registered the domains Online-DMV.ORG and
Internet-DMV.ORG in August 2006 during the term of their advertising agreement
with DMV.ORG. At trial, Plaintiffs could not identify a business purpose for
registering the domains. [11/6 RDT 212:21-214:1 (Creditor); TE 691.]

Statute of Limitations/Laches:

Plaintiffs' Knowledge Of DMV.ORG and Acquiescence

129. Plaintiffs leamed of and visited the DMV.ORG website in March
2002 and had no objections to the use of the DMV.ORG domain at that time. [11/6

RDT 187:2-188:5; TE 32; Ravi Lahoti Trial Decl., | 4; Designated Kramer Depo.,
p. 214:6-16.] [Plaintiffs testified that they may have visited the site in 2002, but that

it did not leave a lasting impression (11/7 TT, p. 73:16-20). The site was very
different in 2002 than it was in 2006 hen {laintiffs filed suit (TE 623).]

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:(

Co ON DN MH BPW YN Fe

No NO NH NH NH NY WN NN NO HK FSF Be eS eB Se ee ole
Oo nN ND nH BP WHO YY KF CO OO ABA A KDA NW BR WO HPO KF OC]

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130. Shortly after learning of DMV.ORG in March 2002, Plaintiffs
investigated the DMV ORG website\atthisitime) [11/6 RDT 200:19-202:23

(Creditor); 11/7 RDT 68:7-70:6 (Kramer); TEs 20 (DEF00982), 32.] [Plaintiffs

testified credibly that the incidents were unrelated. This is also an irrelevant point.]

131. Plaintiffs also visited the DMV.ORG website in 2003, at which

DMV.ORG) [11/7 RDT 73:4-74:3 (Kramer); TE 33; Designated Kramer
Depo., 214:20-215:13; 216:25-217:4; 226:19-21.] [Mr. Kramer did not testify that
he visited the site in 2003 (11/7 TT, p. 73:4-20).]

132. In February 2006, DriversEdDirect initiated negotiations with
Online Guru to advertise on the DMV.ORG website. [11/7 RDT 78:14-21, 80:12-
19 (Kramer). ]

133. DriversEdDirect sought to be "DMV.ORG's premiere California
online driver's ed program and behind-the-wheel provider in Los Angeles." [11/7

RDT 80:6-16 (Kramer); TE 36.]

134. Creditor approved an email to Defendant Raj Lahoti, which
states in part: "you do a fantastic job marketing DMV.ORG, and you spend a lot of
money marketing your site." [11/6 RDT 192:25-194:9 (Creditor); TE 45.]
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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

So OH DB mM BP WHO PO —

NO NY WN NY WN WN NY WN NO FR Be Fe Re SS ee ee Le
Oo nN Nn OA FP WD NY KH CO 0 Dn DB WN BP W PO KY OO

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135. DriversEdDirect eventually entered a written agreement with
Online Guru in June 2006, and DriversEdDirect advertisements were test marketed
on DMV.ORG in July 2006. [11/6 RDT 191:17-19, 199:16-200:8 (Creditor); TE
37.]

136. Creditor had no problem with DMV.ORG recommending
DriversEdDirect in the summer of 2006, and DriversEdDirect paid DMV.ORG for
the referrals it received in connection with the advertisement of its driver's education

courses. [11/6 RDT 200:5-12 (Creditor). ]

Statute of Limitations/Laches:

Plaintiffs Delay and Prejudice to Defendants

137. Although Plaintiff's have been aware of DMV.ORG since 2002,
tiniil Over four Years\laterin| November 2006) [11/6 RDT 187:2-188:5; TE 32; Ravi

Lahoti Trial Decl., { 4; Designated Kramer Depo., p. 214:6-16; Plaintiffs'
Complaint.] [Plaintiffs have been aware of DMV.ORG since 2002 but the site looked

very different at that time and was not deemed a competitive threat then (TD Eric
Creditor, 32, TE 623). The failure to take action at that time was simply because

there was no need to take action. |

138. Online Guru advertises DMV.ORG through pay-per-click

[Raj Lahoti Trial Decl., J 5.] [This is misleading because the overwhelming majority
of these costs were incurred from 2005 — 2007 (TE 115). The suggestion that there

was a powerful marketing effort in years prior is not accurate. |
42

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POST TRIAL [PROPOSED]
FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

So Om NDB Or BP W DBO

NO NO NYO NO WN WN WN NO NO KR HF KF =| RRO oie
On N ON FP WO NY K CO OO HF TD A BH W VNB K& OC

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139. Online Guru has spent over $500,000 on content development of
the site since 2002. [Raj Lahoti Trial Decl., { 6.] [This is misleading because the
vast majority of this amount was spent in 2006 (11/7 TT, pp. 147:7 -148:6.)]

140. Through Online Guru's marketing efforts, people have come to
70,000 websites ink to DMIVIORG)! [11/7 RDT 153:3-154:5 (Raj).] [There is no

evidence to suggest that this recognition is due to marketing efforts rather than a
misperception about the official nature of the site (see TEs 10, 404-407, 410-41—
Internet references and new articles that refer to DMV.ORG as the Department of

Motor Vehicles’ website). |

141. Online Guru's business would suffer greatly if it was required to
flew brand and recognition [11/7 RDT 155:7-156:15, 157:5-25 (Raj).] [This is not

true as over 80% of DMV.ORG’ traffic comes from search engines (11/7 TT, p.
154:6-10) and thus, changing the name would not have a material impact on the
marketing of the site because the name is irrelevant to the search engine referrals
(11/7 TT, p. 155:7-156:1). Defendants should not be allowed to continue to profit

from brand recognition that is misleading (Novartis Consumer Health, Inc. v.

Johnson & Johnson-Merck Consumer Pharmaceuticals Co., 129 F. Supp. 2d 351,
57 U.S.P.Q.2d 1522, 1531 (D.N.J. 2000), aff'd 290 F.3d 578, 62 U.S.P.Q. 2d 1757
(3rd Cir. 2002) (granting preliminary injunction of use of brand name MYLANTA
NIGHT TIME STRENGTH as being false by implication)).]

142. Requiring users to acknowledge upon arriving to DMV.ORG

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Case 2:0

Co ONY Dn FP W YP

NY NY WY NY NY NY NY YN NN Re Se ee ee he ee ee
Ont ND MN FPF WD NY KH COC OO WNwH DA WNW BR WNP FC

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uncommon, they disrupt a visitor's flow, and actually confuse visitors. [11/7 RDT

158:12-159:13 (Raj).] [No persuasive evidence was presented to establish this fact.

It is pure speculation. |

/T//

CONCLUSIONS OF LAW

Plaintiffs Do Not Have Standing

1. “Whenever it appears by suggestion of the parties or otherwise
that the court lacks jurisdiction of the parties or otherwise that the court lacks
Jurisdiction of the subject matter, the court shall dismiss the action.” Fed.R.Civ.P.

Rule 12(h)(3).

2. Plaintifffs lack standing under Article III of the Constitution
nature of their referral business. Berkey Photo, Inc. v. Eastman Kodak Co., 603,

F.2d 263, 289 (2" Cir. 1979) (plaintiff not entitled to judgment since it had only
proved de minimus injury); Shimkus v. Hickner, 417 F.Supp.2d 884, 905 (E.D.
Mich. 2006) (de minimus loss insufficient to confer standing); FRCP R. 12(h)(3)

("Whenever it appears . . . that the court lacks jurisdiction of the subject matter, the
court shall dismiss the action"); Arbaugh v. Y & H Corp., 126 S.Ct. 1235, 1240
(2006) ("The objection that a federal court lacks subject matter jurisdiction may be

raised by a party, or by a court on its own initiative, at any stage in litigation, even

after trial and the entry of judgment."). [The cases cited are not addressing standing
in Lanham Act cases, which has have specific standards related to standing. Under
the false advertising prong of the Lanham Act, there is no need to even prove injury,

all that is required is to prove likelihood q injury. 15 U.S.C. 1125( a), Annunziato v.

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POST TRIAL [PROPOSED]

FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

So OH a1 DB HN BP WH YNPO ee

NNO NYO NY NH NY ND NHN NN NN HH ke HB Fe ee S| Se oR
Oo nN NH ON BP WD NY KH CO OO WAT DA TA BP WH WN KF OC

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e-Machines, 402 F. Supp. 1133, 1137 (C.D. Cal. 2005). Moreover, Plaintiffs

dispute that the injury suffered was (or will continue to be) de minimus. ]

3.

Waits v. Frito Lay, Inc., 978 F.2d 1093, 1109 (9th Cir. 1992).

4. “In the ‘traditional sense,’ ‘competitors are persons endeavoring
Or render the Service |better or cheaper than his\rival| Summit Technology, Inc. v.
High-Line Medical Instruments, Co., 933 F.Supp. 918, 939 (C.D. Cal. 1996). If

Sugai Products, Inc. v. Kona Kai Farms, Inc., 1997 WL 824022 *11 (D.Hawai'i

1997) (quoting Summit Technologies v. High-Line Medical Instruments, Co., 933

F.Supp. 918 (C.D. Cal. 1996). [The reference to “direct competitors” is not
supported by any case law. The standing inquiry is directed to evaluating whether
the alleged injury is “harmful to the plaintiff's ability to compete with the
defendant.” Jack Russell Terrier Network of Northern Ca. v. American Kennel

Club, Inc., 407 F. 3d. 1027, 1037 (9th Cir. 2005). There is no requirement that the

parties be direct competitors. |

5. Plaintiff's lack standing under the Lanham Act because, given the
same dollars from the same consumer group in any meaningful sense. Kournikova

v. General Media Communications, Inc., 278 F.Supp.2d 1111, 1117 (C.D. Cal.

2003) ("the Court must determine whether or not the two parties vie for the same

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Case 2:¢

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oI NH A FW NY KF OO Mwy DH Wn BP WH NO KF OC]

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dollars from the same consumer group, and whether the conduct of the defendant, if
true, could be said to create ‘competitive injury’); Conte Bros. Auto, Inc. v. Quaker
State-Slick 50, Inc., 165 F.3d 221, 223 (3rd Cir. 1998) (upholding dismissal of

Lanham Act false advertising claim for lack of standing where retailer of engine

additives held not to compete with manufacturer of similar product); FRCP R.

12(h)(3) ("Whenever it appears . . . that the court lacks jurisdiction of the subject
matter, the court shall dismiss the action"); Arbaugh v. Y & H Corp., 126 S.Ct.
1235, 1240 (2006) ("The objection that a federal court lacks subject matter

jurisdiction may be raised by a party, or by a court on its own initiative, at any stage
in litigation, even after trial and the entry of judgment."). [This proposition is false
because the legal premise is incorrect (i.e., that there is a de minimus standard) and
it is factually unsupported because the Plaintiffs’ referral business is not

insignificant (Plaintiffs’ Conclusion of Law, No. 13).]

Plaintiffs' False Advertising Claim Fails

6. To prevail on a false advertising claim, a plaintiff must prove:
(a) defendant made a false or misleading statement in a commercial advertisement
about the nature, characteristics, qualities, or geographic origin of their own or
another’s product; (b) the statement actually deceived or has the tendency to deceive
a substantial segment of reasonably prudent consumers; (c) the deception is
material, in that it is likely to influence the purchasing decision; and (4) plaintiff has
Been (risilikely tolbeyinjured by thelconduct) 15 U.S.C. § 1125(a)(1)(B);

Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9th Cir. 1997); Int’]
Ass’n of Machinists v. Winship Green Nursing Ctr., 103 F.3d 196, 201 (1st Cir.

1996). [Defendants’ improperly incorporate a selected phrase of 15 U.S.C. $1125
(a)( 1) into the case law elements of the claim and misstate element (b) of the false

advertising test even though they cite to the Ninth Circuit’s seminal case of

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FINDINGS OF FACT AND CONCLUSIONS OF LAW

Case 2:

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Oona KHON FBP WHO NY K& COO Dn HDR NW BP WOW YY K& OC

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Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134. Southland makes no

reference to “reasonably prudent consumers,” but rather speaks to the “audience”
to whom the communications are directed. The distinction is not insignificant as a
substantial segment of Defendants’ audience may consist of “non-prudent”
consumers and does in fact consist of teenagers interested in drivers education

courses—both of which need to be protected from false and misleading advertising. |

7. When evaluating an alleged false advertisement, tha

component parts. Southland Sod Farms, 108 F.3d at 1139; and Avis Rent A Car
System, Inc. v. Hertz Corp., 782 F.2d 381, 385 (2d Cir. 1986) (courts must

"consider the advertisement in its entirety and not ... engage in disputatious

dissection"); and FTC v. Sterling Drug, Inc., 317 F.2d 669, 674 (2d Cir. 1963) (view

the "entire mosaic” not "each tile separately"). An analysis of DMV.ORG therefore

fesuilis Separately irom thelcOntent/onlthelwebsil® [4 fuull contextual review of an

alleged false advertisement is only necessary for the “necessary implication” prong

of the literal falsity standard, not the second element of “likely to mislead” prong.
Southland at 1139.]

8. Plaintiffs’ false advertising claim fails as a matter of law as
any government entity. Merck & Co., Inc. v. Mediplan Health Consulting, Inc., 425

F.Supp.2d 402, 417 (S.D.N.Y. 2006) ("false advertising claims based on allegations

of implied governmental approval have not been allowed, for 'the law does not

impute representations of government appa val ... in the absence of explicit
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POST TRIAL [PROPOSED]
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Case 2:0

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Oo yt HD mA BP WO NY KH CO OO A AIT DA WA BP WHO NH KF OC

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claims"). [First, Defendants have expressly misrepresented an affiliation with the
government (see Response to No. 34, supra. Second, the case proposition is a red-
herring, since this is not an FDA related case: Merck cited to and relied on Mylan

Labs. v. Matkari, 7 F.3d 1130 (4th Cir.1993), where the Fourth Circuit found that

“permitting [plaintiff] to proceed on the theory that the defendants violated § 43(a)
merely by placing their drugs on the market would, in effect, permit [plaintiff] to use
the Lanham Act as a vehicle by which to enforce the Food, Drug, and Cosmetic Act
... and the regulations promulgated thereunder”; as the Court noted in its January
22, 2007 Order: “[the false advertising prong of §43(a)] prohibits a rather broad
category of misrepresentations, including those regarding the nature,
characteristics, or qualities of a defendant’s goods. Ample authority establishes that
Plaintiffs’ claim, alleging a misrepresentation of an endorsement or approval of a

government agency, is properly within that prohibition. |

9. The DMV.ORG website is not literally false, as it provides
affiliation with any government entity. [First, the false advertising claim in this case

is not related solely to the DMV.ORG website alone but to the search engine and
other DMV.ORG advertisements (including TE 17 and 18). Second, as to the site, it
is literally false at least by necessary implication when the full context of the
advertising, including search engine advertising and pathways to the site from the
search engine advertising (Plaintiffs’ Facts Nos. 33-40, 42,43, 51-60, 62-68, 73, 75-
77, 78, 79 and evidence cited therein). |

10. Defendants' DMV.ORG website was and is not misleading

Ofconsumer contusion) Taubman v. Webfeats, 319 F.3d 770, 777 (6th Cir. 2003)

(Defendant's disclaimer on its website, www.shopsatwillowbend.com, indicating
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Case 2:

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on DN MN fF WN KF OO WAIT DR WW BB W HPO SC

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that it was not the official website for Plaintiff's mall, "The Shops at Will Bend,"
negated likelihood of consumer confusion; appellate court reversed preliminary
injunction entered by district court).[This is an untrue factual conclusion: The
website was misleading and still causes consumer confusion (Plaintiffs’ Facts Nos.

62-93).]

Southland Sod Farms v. Stover Seed Co., 108 F.3d 1134, 1139 (9" Cir. 1997)

(listing, as an element of a false advertising claim, that the deception is material in

that it is likely to influence the purchasing decision). [This is an untrue factual
conclusion as Plaintiffs’ offered evidence in support of this issue (Plaintiffs’ Facts,
Nos. 95-99 and evidence cited therein); moreover, in some cases like this one, it is
obvious that the misrepresentation concerned a quality or characteristic of a
product which would affect a purchaser's decision whether to buy it (e.g., Oil Heat

Institute of Oregon v. Northwest Natural Gas, 708 F.Supp. 1118, 1123

(D.Or.,1988)(“A fact finder could reasonably conclude that information regarding
the amount of maintenance required for natural gas equipment is likely to influence

the purchasing decisions of consumers.” )).|

12. Plaintiffs have failed to show that DMV.ORG was or is likely to

the significant traffic on DMV.ORG. Nutri/System, Inc. v. Con-Stan Industries,

Inc., 809 F2d 601 cg" Cir. 1987) (misdirected letters and checks deemed

insignificant in comparison to volume of the parties businesses); Amf, Inc. v.

Sleekcraft Boats, 599 F2d 341, 353 (9" OE 1979) (excluding from consideration

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Case 2:4

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"the wholly indifferent"); Int'l Ass'n of Machinists v. Winship Green Nursing Ctr.,
103 F.3d 196, 201 (1* Cir. 1996) (the law has long demanded a showing that the
allegedly infringing conduct carries with it a likelihood of confounding an
appreciable number of reasonably prudent purchasers exercising ordinary care);

A&H Sportswear Co., Inc. v. Victoria's Secret Stores, Inc., 57 F.Supp.2d 155 (E.D.

Pa. 1999) (isolated evidence of actual confusion insufficient to establish confusion.).
[This statement incorrectly identifies the standard and applies trademark rather
than false advertising law (see No. 6 supra); also, it has an erroneous factual basis

which has been fully addressed in Nos. 10 and 11, supra.]

13. Plaintiff's must prove “a logical causal connection between the
that [they] will be injured” is insufficient. Century 21 Real Estate Corp. v. Re/Max
South County, 882 F.Supp. 915, 924-25 (C.D. Cal. 1994). Bigintitisinavellailedito
their businesses and the DMV.ORG website. [This is not the correct standard; all

Plaintiffs must prove is that they are likely to be injured (not even that they have
been injured). 15 U.S.C. $1125 (a), Southland Farms at 1145-1146, 15 U.S.C.
§1117, Gracie v. Gracie, 217 F. 3d. 1060, 1068 (9th Cir. 2000)). Moreover,
Defendants have caused injury to Plaintiffs (Plaintiffs’ Facts, Nos. 100-105 and

evidence cited therein. |

Equitable Defenses Bar Plaintiffs' Claims

14. Plaintiffs’ causes of action do not raise allegations concerning a

affirmative defenses. Jarrow Formulas, Inc. v. Nutrition now, Inc., 304 F.3d 829,

841 (9" Cir. 2002) (affirming summary judgment against plaintiff's false advertising

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Case 2:

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oy ONO Oh BR DH ND hh ll lUcCOlUlUCUCCOlClCUCUDWOUTNS ODN BOON lr ClO

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claim based on laches, finding that "the public's interest will trump laches only when
the suit concerns allegations that the product is harmful or otherwise a threat to
public safety and well being"). [Plaintiffs cause of action does raise allegations
concerning public safety and well being (see Response to No. 5, supra); also, the

equitable defenses are trumped where public confusion exists (see Nos. 16 and 17,

infra). |

15. The limitation periods on a false advertising claim is the
California’ s\period for traudwhichisihreelyears”) Jarrow Formulas, Inc. v.

Nutrition Now, Inc., 304 F.3d 829, 838 (9th Cir. 2002). [Defenses based upon delay
in Lanham Act cases are governed by the equitable doctrine of laches (McCarthy,
§31:19-20).]

16. The defense of laches bars an action for equitable relief where

from the delay. Transworld Airlines v. American Coupon Exchange, 913 F.2d 676,

696 (9th Cir. 1990). Plaintiff's’ causes of action are therefore barred by the doctrine

(a) In waiting over four years after learning of the DMV.ORG

delayed. Grupo Gigante SA DE CV v. Dallo & Co.., Inc., 391
F3d. 1088, 1101, 1105 (9th Cir. 2004) (four year delay in

asserting trademark rights after learning of infringing use

constituted unreasonable delay)

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Case 2:(

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on DN MN FSF HO NY KF OD OO OWA DA WNW BR WwW PB KF OC]

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(b)

(c)

this lawsuit in a timely fashion. Transworld Airlines v.

American Coupon Exchange, 913 F.2d 676, 696 (9th Cir. 1990)

(laches is designed to prevent a defendant from being worse off
than he would have been if plaintiff had enforced his rights in a

timely fashion"); Grupo Gigante, 391 F.3d at 1105 (defendant

made the required showing of prejudice by proving that it built a
valuable business around its trademark during the four years that

the plaintiff delayed the exercise of its legal rights).

[This is factually and legally incorrect. The defense of laches is trumped by a strong
showing of likely confusion of the public ( ProFitness Physical Therapy Center v.
Pro-Fit Orthopedic and Sports Physical Therapy P.C., 314 F.3d 62 (2d Cir.

2002)(“[A] court may nonetheless grant injunctive relief if it determines that the
likelihood of confusion is so great that it outweighs the effect of plaintiff's delay.” );
Underwriters Laboratories, Inc. v. United Laboratories, Inc., 203 U.S.P.Q. 180

(N.D. Ill. 1978) (application of laches defense “would ignore the paramount

objective ... which is protection of the public interest”); Conagra, Inc. v. Singleton,
743 F.2d 1508, 224 U.S.P.Q. 552 (11th Cir. 1984) (the prejudice to defendant from
laches must be weighed against the public interest in avoiding confusion)).

Moreover, Plaintiffs had no obligation to act until their rights were being

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Case 2:

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“substantially impacted” and Plaintiffs acted promptly upon this realization
(Plaintiffs’ Facts, Nos. 116-121)(Laches should be measured from the date that
defendant's acts first significantly impacted a plaintiff; “any change in the format or
method of use” by a defendant is sufficient to excuse a prior delay—McCarthy, §
31:19-20 and discussion of the legal issues of encroachment and escalation of use

by a defendant and case law).]

17. The doctrine of unclean hands precludes relief to a party that has
acted improperly. Urecal Corp. v. Masters, 413 F.Supp. 873, 875 (N.D. Ill. 1976).

"Tt is the age-old policy of courts of equity to require that he who sues seeking
equity must... come into court with 'clean hands’ as respects that controversy."

Hall v. Wright, 125 F.Supp. 269, 273 (S.D. Cal. 1954). The doctrine of unclean

hands applies to Lanham Act cases. Japan Telecom, Inc. v. Japan Telecom Am..,

Inc., 287 F.3d 866, 870 (9" Cir. 2002) (expressly recognizing the availability of the

unclean hands defense to false affiliation claims); Emco, Inc. v. Obst, 2004 U.S.

Dist. LEXIS 12118, *12 (C.D. Cal. May 7, 2004) (holding that the unclean hands

doctrine provides a defense to false advertising claims under the Lanham Act);
Haagen Dazs v. Frusen Gladje, Ltd., 493 F.Supp. 73, 75-76 (S.D.N.Y. 1980)

(Plaintiff, who engaged in conduct similar to defendant, may not secure equitable

relief simply because defendants’ hands may be a shade or two less clean").
[Unclean hands is not a viable defense if the public’s confusion is ongoing—an
injunction is always available as a remedy regardless of the behavior of a plaintiff.
“That is, if the evidence shows that plaintiff is engaging in inequitable practices, but
defendant is also guilty of the unfair competition charged, an injunction should be
granted notwithstanding the unclean hands maxim. It is better to remedy one wrong
than to leave two wrongs at large. If defendant thinks that plaintiff is guilty of
inequitable conduct, he should raise it in a counterclaim or in a separate suit

against plaintiff.” McCarthy, 31:53, citing cases, including, the Ninth Circuit’s U-

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POST TRIAL [PROPOSED]
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Case 2:4

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Haul International, Inc. v. Jartran, Inc., 522 F. Supp. 1238 (D. Ariz. 1981), aff'd,
681 F.2d 1159, 216 U.S.P.Q. 1077 (9th Cir. 1982) (unclean hands is a disfavored

defense in false advertising cases); Republic Molding Corp. v. B. W. Photo Utilities,
319 F.2d 347, 350 (9th Cir. 1963). ]

18.

Sie not entitledto relieh [Jn order for unclean hands to provide a defense, the

alleged wrongful conduct must be related to the Defendants’ conduct. See
McCarthy , § 31:44, 48, 53, (Fuddruckers, Inc. v. Doc's B.R. Others, Inc., 826 F.2d
837, 847 (9th Cir. 1987)). There is no evidence that Plaintiffs engaged in any

wrongful activity which has deceived or confused the public. |

Plaintiffs Are Not Entitled To Any Monetary Recovery

19.

Century 21 Real Estate Corp. v. Re/Max South County, 882 F.Supp. 915, 924-25

(C.D. Cal. 1994) (plaintiff's false advertising claim failed since it could not prove "a
logical causal connection between the alleged false advertising and its own sales

position"); Nikkal Industries Ltd. v. Salton, Inc., 735 F.Supp. 1227, 1238 (S.D.N.Y.

1990) (verdict for defendant; plaintiff failed to prove lost sales were the result of

defendant's advertisements rather than other factors such as its marketing strategy

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Case 2:

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eS NAAN TOMO (7he Ninth Circuit

has held that a plaintiff need not prove injury when seeking monetary relief under
the Lanham Act, 15 U.S.C. § 1117(a)(Southland Sod Farms v. Stover Seed Co., 108
F.3d 1134, 1145-1146 (9" Cir. 1997)). Plaintiffs are not seeking damages, but

rather, a disgorgement of Defendants’ profits — as allowed—and are not required to
show any causal nexus to obtain such an award (15 U.S.C. §1117; Gracie v. Gracie,
217 F. 3d. 1060, 1068 (9th Cir. 2000)). Moreover, Defendants have caused injury
to Plaintiffs (Plaintiffs’ Facts, Nos. 100-105 and evidence cited therein. |

20. An accounting of profits is to "constitute compensation not a

Guilty) 15 U.S.C. 1117; Maier Brewing Co. v. Fleischman Distilling, 390 F.2d 117,
120 (9" Cir. 1968). Courts evaluating whether an accounting of profits is

appropriate have taken into consideration the intent of the alleged wrongdoer,
requiring willful and deliberate wrongdoing. Maier Brewing Co., 390 F.2d at 124;
Alpo Petfoods, Inc. v. Ralston Purina Co., 913 F.2d 958, 961 (D.C. Cir. 1990);
Bandag, Inc. v. Al Bolser's Tire Stores, Inc., 750 F.2d 903, 919 (Fed. Cir. 1984).

find Defendants conduct SugBesisotherWisel [Facts have been presented to

illustrate that this is an exceptional case (Plaintiffs’ Findings, Nos. 78-94, and

evidence cited therein regarding deception and intent). Also, profits may be
awarded to deter conduct and take all financial incentive out of the unfair

competition (Maier Brewing Co., 390 F.2d at 123).]

21. An award of attorneys fees is available only in "exceptional"
GiRCUMSTGREES! 15 USC 1117(a). Wile he teemexXceptional is not defined inthe
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Lindy Pen Co., Inc. v. Bic Pen Corp., 982 F.2d 1400, 1409 (9th Cir. 1993).

attorneys fees. [Defendants are incorrect in their assessment that facts have not

been presented to illustrate that this is an exceptional case (Plaintiffs’ Findings,

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Nos. 78-94, and evidence cited therein regarding deception and intent). Moreover,

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under California law (as opposed to the Lanham Act), there is no requirement of

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exceptionality for attorneys’ fees (Plaintiffs’ Conclusions, No. 44, setting forth
standard under CCP 1021.5.]

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Respectfully submitted,

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Dated: November __, 2007

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SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

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By

BRIAN M. DAUCHER

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Attorneys for Defendants

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